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            · · *** CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER ***
            ·1· · · · · · IN THE UNITED STATES DISTRICT COURT

            ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

            ·3

            ·4· ·IRA KLEIMAN, as the personal )

            ·5· ·representative of the Estate )

            ·6· ·of DAVID KLEIMAN; and W&K· · )

            ·7· ·INFO DEFENSE RESEARCH, LLC,· )

            ·8· · · · · · ·Plaintiffs,· · · · )

            ·9· · · · vs.· · · · · · · · · · ·) No. 18 CV 80176

            10· ·CRAIG WRIGHT,· · · · · · · · )

            11· · · · · · ·Defendant.· · · · ·)

            12

            13· · · · · · ·The ** CONFIDENTIAL ** videotaped

            14· ·deposition of ROBERT SCOTT RADVANOVSKY, called for

            15· ·examination, taken pursuant to the Federal Rules of

            16· ·Civil Procedure of the United States District Courts

            17· ·pertaining to the taking of depositions, taken before

            18· ·DINA G. MANCILLAS, a Certified Shorthand Reporter

            19· ·within and for the State of Illinois, CSR No. 84-3400

            20· ·of said state, at Suite 4500, 77 West Wacker Drive,

            21· ·Chicago, Illinois, on December 12, 2019, at

            22· ·10:00 a.m.

            23

            24

            25
Plaintiffs' Objections to Counters
Defendant's Counter- Designations     U.S. LEGAL SUPPORT
Plaintiffs' Designations            www.uslegalsupport.com
Defendant's Objections
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     ·1· ·PRESENT:
     ·2
     ·3· · · · ROCHE FREEDMAN, LLP,
     ·4· · · · (185 Wythe Avenue F2,
     ·5· · · · Brooklyn, New York· 11249,
     ·6· · · · 716-348-6003), by:
     ·7· · · · MR. KYLE W. ROCHE,
     ·8· · · · kyle@rochefreedman.com,
     ·9· · · · MR. DEVIN VELVEL FREEDMAN,
     10· · · · vel@rochefreedman.com,
     11· · · · [via telephonic communication],
     12· · · · MR. JOSEPH DELICH,
     13· · · · jdelich@rochefreedman.com,
     14· · · · [via telephonic communication],
     15· · · · · · ·appeared on behalf of the Plaintiffs;
     16
     17
     18
     19
     20
     21
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     24
     25


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     ·1· ·PRESENT:· (Continued)
     ·2
     ·3· · · · RIVERO MESTRE LLP,
     ·4· · · · (2525 Ponce De Leon Boulevard, Suite 1000,
     ·5· · · · Miami, Florida· 33134,
     ·6· · · · 305-445-2500), by:
     ·7· · · · MR. ZALMAN KASS,
     ·8· · · · zkass@riveromestre.com,
     ·9· · · · MR. BRYAN L. PASCHAL,
     10· · · · bpaschal@riveromestre.com,
     11· · · · [via telephonic communication],
     12· · · · · · ·appeared on behalf of the Defendant.
     13
     14· ·ALSO PRESENT:
     15· · · · Mr. Ira Kleiman, via telephonic communication.
     16· · · · Mr. Scott Johnson, Legal Videographer,
     17· · · · · · ·US Legal Support, Inc.
     18
     19
     20
     21
     22
     23· ·REPORTED BY:
     24· · · · · · ·DINA G. MANCILLAS, CSR, RPR, CRR, CLR
     25· · · · · · ·CSR No. 84-3400


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     ·1· · · · · · · · · · · · ·I N D E X
     ·2· ·WITNESS· · · · · · · · · · · · · · ·EXAMINATION
     ·3· ·ROBERT SCOTT RADVANOVSKY
     ·4· · · · By Mr. Kass· · · · · · · · · · · · · ·6
     ·5· · · · By Mr. Roche· · · · · · · · · · · · · 56
     ·6· · · · By Mr. Kass· · · · · · · · · · · · · ·64
     ·7
     ·8· · · · · · · · · · · E X H I B I T S
     ·9· · · · NUMBER· · · · · · · · · · · · · · · · · ·PAGE
     10· · ·Radvanovsky Deposition Exhibit 1,· · · · · · ·14
     11· · · · Printout of Robert S. Radvanovsky's
     12· · · · LinkedIn profile page.
     13· · ·Radvanovsky Deposition Exhibit 2,· · · · · · ·23
     14· · · · Document titled "Robert Radvanovsky's
     15· · · · Books."
     16· · ·Radvanovsky Deposition Exhibit 3, Bates· · · ·39
     17· · · · Nos. DEFAUS_00581646 through
     18· · · · DEFAUS_00581659.
     19· · ·Radvanovsky Deposition Exhibit 4, Bates· · · ·65
     20· · · · No. DEF_00264618.
     21· · ·Radvanovsky Deposition Exhibit 5, Bates· · · ·72
     22· · · · No. DEF_00285685.
     23
     24
     25


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     ·1· · · · ·THE VIDEOGRAPHER:· This is the
     ·2· ·videotaped deposition of Bob Radvanovsky
     ·3· ·being taken in the matter of Kleiman, et al.
     ·4· ·versus Wright, case No. 9:18-CV-80176-BB-BR.
     ·5· · · · · · · ·This deposition is taking place
     ·6· ·at 77 West Wacker Drive, Chicago, Illinois.
     ·7· ·Today's date is December 12th, 2019.· The
     ·8· ·time is 9:58 a.m.
     ·9· · · · · · · ·My name is Scott Johnson.· I'm
     10· ·the videographer with US Legal Support,
     11· ·located at 200 West Jackson Boulevard,
     12· ·Chicago, Illinois.· The court reporter today
     13· ·is Dina Mancillas.
     14· · · · · · · ·Video and audio recording will be
     15· ·taking place unless all parties have agreed
     16· ·to go off the record.
     17· · · · · · · ·Would counsel please state their
     18· ·names for the record?
     19· · · · ·MR. KASS:· Zalman Kass for Dr. Craig
     20· ·Wright.
     21· · · · ·MR. ROCHE:· Kyle Roche for plaintiffs.
     22· · · · ·THE VIDEOGRAPHER:· Counsel on the
     23· ·phone?
     24· · · · ·MR. KASS:· Who do we have on the phone?
     25· · · · ·MR. DELICH:· This is Joe Delich from


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     ·1· · · · Roche Freedman.
     ·2· · · · · · · THE VIDEOGRAPHER:· Will the court
     ·3· · · · reporter please swear in the witness?
     ·4· · · · · · · · · · · ·(The witness was duly sworn.)
     ·5· · · · · · · · ·ROBERT SCOTT RADVANOVSKY,
     ·6· ·called as a witness herein, having been first duly
     ·7· ·sworn, was examined and testified as follows:
     ·8· · · · · · · · · · · · EXAMINATION
     ·9· ·BY MR. KASS:
     10· · · · Q.· · ·Mr. Radanovsky, could you please state
     11· ·your full name for the record?
     12· · · · A.· · ·Sure.· My name is Robert Scott
     13· ·Radvanovsky.
     14· · · · Q.· · ·And prior to this deposition, you
     15· ·mentioned that you had been deposed before as an
     16· ·expert witness?
     17· · · · A.· · ·Yes.
     18· · · · Q.· · ·How many times have you been deposed?
     19· · · · A.· · ·Once.
     20· · · · Q.· · ·Okay.· And how many years ago was that?
     21· · · · A.· · ·It was last year.
     22· · · · Q.· · ·And what was that deposition related
     23· ·to?
     24· · · · A.· · ·The deposition was related to this case
     25· ·regarding the plaintiff, and I provided them with


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     ·1· ·the documentation that you have been provided as
     ·2· ·well.· It is the same documentation.
     ·3· · · · Q.· · ·Okay.· Now, when you state you had been
     ·4· ·deposed before, was there a stenographer and a
     ·5· ·videographer there?
     ·6· · · · A.· · ·No.
     ·7· · · · Q.· · ·So was it a conversation with counsel?
     ·8· · · · A.· · ·It was a conversation with counsel from
     ·9· ·the plaintiff.· The conversation was not recorded,
     10· ·at least to the best of my knowledge.
     11· · · · Q.· · ·Okay.· And how long did that
     12· ·conversation take?
     13· · · · A.· · ·Probably 20, maybe 30 minutes.
     14· · · · Q.· · ·And was that conversation in person?
     15· · · · A.· · ·No.
     16· · · · Q.· · ·Was it over the phone?
     17· · · · A.· · ·It was over a telephone.
     18· · · · Q.· · ·Okay.· We're going -- I'm going to come
     19· ·back to that in a little bit.
     20· · · · A.· · ·Sure.
     21· · · · Q.· · ·So being that this is the first time
     22· ·that you're having a deposition with a court
     23· ·reporter and videographer, I'm just going to go
     24· ·over some ground rules to make sure we're all on
     25· ·the same page.


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     ·1· · · · · · · ·So the first thing is that if you're
     ·2· ·responding affirmatively or negatively, if you can
     ·3· ·verbalize saying yes or no and not nod or shake
     ·4· ·your head, it makes it a lot easier for the
     ·5· ·stenographer.
     ·6· · · · A.· · ·Understood.
     ·7· · · · Q.· · ·And I'm going to ask that if you don't
     ·8· ·understand a question, if you could please let me
     ·9· ·know because otherwise, I'm going to assume that
     10· ·you did understand my question.
     11· · · · A.· · ·Understood.
     12· · · · Q.· · ·Okay.· And if, at any point in time,
     13· ·you want me to clarify something, please let me
     14· ·know.
     15· · · · A.· · ·Understood.
     16· · · · Q.· · ·And we also spoke previously about
     17· ·breaks.· If, at any time, you need a break, need a
     18· ·rest or anything like that, please let me know,
     19· ·and we will stop.
     20· · · · A.· · ·Thank you.
     21· · · · Q.· · ·Is there anything that would be
     22· ·preventing you from giving your best testimony
     23· ·today?
     24· · · · A.· · ·No.
     25· · · · · · · MR. ROCHE:· Zalman, do we want to


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     ·1· · · · just --
     ·2· · · · · · · MR. KASS:· Sure.
     ·3· · · · · · · MR. ROCHE:· Who just joined?
     ·4· · · · · · · MR. PASCHAL:· Bryan.
     ·5· · · · · · · MR. KASS:· Okay.· Bryan Paschal.
     ·6· ·BY MR. KASS:       Relevance -- impacts short term memory only.

     ·7· · · · Q.· · ·Are you currently on any prescribed
     ·8· ·medication that could affect your memory?
     ·9· · · · A.· · ·Yes.
     10· · · · Q.· · ·Okay.· Would you be able to tell me the
     11· ·type of medication?
     12· · · · A.· · ·Yes.
     13· · · · Q.· · ·And what is it?
     14· · · · A.· · ·The medication is lamotrigine.
     15· · · · Q.· · ·Okay.
     16· · · · A.· · ·Oxcarbazepine, Sertraline, BELSOMRA.
     17· · · · Q.· · ·Okay.
     18· · · · A.· · ·Quetiapine.
     19· · · · Q.· · ·And how does it affect your memory?
     20· · · · A.· · ·It affects short-term memory.
     21· · · · Q.· · ·Okay.
     22· · · · A.· · ·Not long-term memory.
     23· · · · Q.· · ·Okay.· Thank you.
     24· · · · A.· · ·Did you need to understand the ailment
     25· ·by which --


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     ·1· · · · Q.· · ·It -- it's not necessary for me to know
     ·2· ·the reason why.· If you'd like to share, that's
     ·3· ·okay, but --
     ·4· · · · A.· · ·I do not mind.
     ·5· · · · Q.· · ·Okay.· So then we could --
     ·6· · · · A.· · ·I have been diagnosed with severe
     ·7· ·chronic depression.· I suffer from chronic
     ·8· ·insomnia.· I am Type 1 bipolar disorder.
     ·9· · · · Q.· · ·I'm sorry to hear that, and I hope
     10· ·you'll --
     11· · · · A.· · ·Thank you.
     12· · · · Q.· · ·-- get better.· Okay.· Now, previous to
     13· ·today, did you receive a subpoena to produce
     14· ·documents?
     15· · · · A.· · ·Yes.
     16· · · · Q.· · ·And did you produce documents
     17· ·responsive to the subpoena?
     18· · · · A.· · ·Yes.
     19· · · · Q.· · ·Okay.· Are there any documents that you
     20· ·didn't produce, but that are responsive to that
     21· ·subpoena?
     22· · · · A.· · ·No.
     23· · · · Q.· · ·What is your current profession?
     24· · · · A.· · ·My current profession is cybersecurity
     25· ·research.


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     ·1· · · · Q.· · ·And what does that involve?
     ·2· · · · A.· · ·That involves performing research on
     ·3· ·industrial control systems and SCADA systems
     ·4· ·pertinent to critical infrastructure.
     ·5· · · · · · · ·SCADA means "supervisory control and
     ·6· ·data acquisition."· Industrial contri- -- excuse
     ·7· ·me -- industrial control systems are embedded
     ·8· ·devices that control a thing, a physical device
     ·9· ·such as water pumps, valves, relays, switches,
     10· ·variable frequency drives, and whatnot.
     11· · · · Q.· · ·Okay.· And what, in particular, is your
     12· ·role with regards to those type of systems?
     13· · · · A.· · ·My job is to research and find suitable
     14· ·solutions to secure our critical infrastructure
     15· ·nationwide, worldwide, whatnot.
     16· · · · Q.· · ·And do you currently work for a
     17· ·business?
     18· · · · A.· · ·Yes.
     19· · · · Q.· · ·And what's the name of that business?
     20· · · · A.· · ·I'm not at liberty to disclose that.
     21· · · · Q.· · ·Okay.· Is that due -- what's -- what's
     22· ·the reason why you're not able to disclose it?
     23· · · · A.· · ·Nondisclosure.
     24· · · · Q.· · ·Agreement?
     25· · · · A.· · ·Yes, sir.


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     ·1· · · · Q.· · ·Okay.· And so that nondisclosure
     ·2· ·agreement prevents you from stating the name of
     ·3· ·your employer?
     ·4· · · · A.· · ·Correct.
     ·5· · · · Q.· · ·Okay.
     ·6· · · · A.· · ·I own and operate a private
     ·7· ·organization called infracritical, spelled
     ·8· ·i-n-f-r-a-c-r-i-t-i-c-a-l.
     ·9· · · · · · · ·The name is trademarked with the United
     10· ·States Patent Office.
     11· · · · Q.· · ·Okay.· I just want to make sure I
     12· ·understand.
     13· · · · · · · ·So you own and operate infracritical,
     14· ·and you're also working for some other
     15· ·organization whose name you can't tell me?
     16· · · · A.· · ·Correct.
     17· · · · Q.· · ·Okay.· Now, is that employment through
     18· ·infracritical or --
     19· · · · A.· · ·No.
     20· · · · Q.· · ·-- it's separate?
     21· · · · A.· · ·Separate.
     22· · · · Q.· · ·Okay.
     23· · · · A.· · ·It does not apply to my current
     24· ·employer.· I have a contract with my employer that
     25· ·allows me to conduct private research on my own


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     ·1· ·accord.
     ·2· · · · Q.· · ·Okay.· And this employer, is it a
     ·3· ·government or private entity?
     ·4· · · · A.· · ·Private entity.
     ·5· · · · Q.· · ·Have you ever worked for the federal
     ·6· ·government?
     ·7· · · · A.· · ·No.
     ·8· · · · Q.· · ·Okay.· And how -- going back to that
     ·9· ·private entity that you're working with, how long
     10· ·have you been working with them?
     11· · · · A.· · ·Approximately nine years.
     12· · · · Q.· · ·And how long have you been in this
     13· ·field of SCADA and what you previously identified?
     14· · · · A.· · ·Over 20 years.
     15· · · · Q.· · ·Have you done anything else during
     16· ·those 20 years?
     17· · · · A.· · ·No.
     18· · · · · · · MR. KASS:· I'm going to introduce as
     19· · · · Exhibit 1 a document.
     20· · · · · · · · · · Could you -- what we'll do is,
     21· · · · right when I provide you with a document, I'm
     22· · · · going to first give it to the court reporter
     23· · · · so she can mark it.
     24· · · · · · · THE WITNESS:· Sure.
     25· · · · · · · MR. KASS:· And then she'll return it to


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     ·1· · · · you.
     ·2· · · · · · · THE WITNESS:· Sure.
     ·3· · · · · · · MR. ROCHE:· Zalman, do you happen to
     ·4· · · · have an extra pen on you?· If not, that's
     ·5· · · · okay.
     ·6· · · · · · · MR. KASS:· I do.
     ·7· · · · · · · MR. ROCHE:· Thank you.
     ·8· · · · · · · · · · · ·(Radvanovsky Deposition
     ·9· · · · · · · · · · · ·Exhibit 1 was marked for
     10· · · · · · · · · · · ·identification.)
     11· · · · · · · · · · · ·(Document tendered.)
     12· ·BY THE WITNESS:
     13· · · · A.· · ·Thank you.
     14· ·BY MR. KASS:
     15· · · · Q.· · ·Do you recognize this document?
     16· · · · A.· · ·Yes.
     17· · · · Q.· · ·All right.
     18· · · · A.· · ·This is --
     19· · · · Q.· · ·And what --
     20· · · · A.· · ·This is a screen dump from LinkedIn.
     21· · · · Q.· · ·Okay.· And is this your LinkedIn
     22· ·profile?
     23· · · · A.· · ·Yes.
     24· · · · Q.· · ·And is it an accurate representation of
     25· ·your employment history?


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     ·1· · · · A.· · ·No.
     ·2· · · · Q.· · ·Okay.· What's not accurate about it?
     ·3· · · · A.· · ·It does not show my current employer.
     ·4· · · · Q.· · ·Okay.
     ·5· · · · A.· · ·I wish to retract the prior statement
     ·6· ·of not performing SCADA and ICS research because I
     ·7· ·completely forgot about the fact that I worked for
     ·8· ·Resurrection Healthcare from 2003 to
     ·9· ·December 2010.
     10· · · · Q.· · ·Okay.· And other than the -- that it
     11· ·doesn't have your current employer, is it
     12· ·accurate?
     13· · · · A.· · ·Please allow me to review it.
     14· · · · Q.· · ·Of course, yes, and take your time.
     15· · · · A.· · ·As best as I can tell, yes.
     16· · · · Q.· · ·Thank you.
     17· · · · A.· · ·My certifications are still current.
     18· · · · Q.· · ·Thank you.· And what's your educational
     19· ·background?
     20· · · · A.· · ·I don't understand.
     21· · · · Q.· · ·Okay.· Do you hold any degrees from a
     22· ·university?
     23· · · · A.· · ·Yes.
     24· · · · Q.· · ·What degrees do you hold?
     25· · · · A.· · ·I have a Bachelor's of Science in


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     ·1· ·Business Administration from the California
     ·2· ·Polytechnic University based out of Pomona,
     ·3· ·California.
     ·4· · · · · · · ·I have a Master's of Science degree
     ·5· ·from DePaul University based out of Chicago,
     ·6· ·Illinois.
     ·7· · · · Q.· · ·Now, I'm going to go back to your
     ·8· ·previous statement that you had a phone
     ·9· ·conversation with counsel for Ira.
H
     10· · · · · · · ·What was the substance of that
     11· ·conversation?
     12· · · · A.· · ·They were wanting to acquire any
     13· ·relevant documentation and/or communication, such
     14· ·as email or telephone conversations that I may
     15· ·have had with Mr. Wright.
     16· · · · Q.· · ·Okay.· And did you provide them with

H
     17· ·any documents?
     18· · · · A.· · ·Yes.
     19· · · · Q.· · ·And what date did you provide those
     20· ·documents, approximately, to the extent you know?
     21· · · · A.· · ·Late -- mid to late April of 2018.
     22· · · · Q.· · ·And apart from acquire -- inquiring
     23· ·about documents, did they ask you anything about
H

     24· ·your interactions with Dr. Wright?
     25· · · · A.· · ·They asked what my relationship was


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H           ·1· ·with Mr. Wright.
            ·2· · · · Q.· · ·And what did you tell them?
            ·3· · · · A.· · ·I told them that my relationship with
            ·4· ·Mr. Wright was very platonic, that I have had
            ·5· ·interspersal -- is that a correct word,
H
            ·6· ·interspersal -- relationships with him via Skype
            ·7· ·and email and via postings on a blog site that he
            ·8· ·and I both met some 20 or so years ago.
            ·9· · · · · · · ·The blog site was called Security
            10· ·Focus.· Security Focus has since then been
            11· ·acquired by Symantec Corporation.· The blogs are
            12· ·currently archived, but the blog is -- itself is
            13· ·not maintained.
            14· · · · Q.· · ·Okay.· Did they ask you anything else

        H
            15· ·about Dr. Craig Wright?
            16· · · · A.· · ·The only thing they asked me is if I
            17· ·felt he was Satoshi Nakamoto.
            18· · · · Q.· · ·Okay.· And what did you tell them?
H-F-S

            19· · · · A.· · ·I said no.
            20· · · · Q.· · ·Okay.· Did they ask you anything about

    H
            21· ·Dave Kleiman?
            22· · · · A.· · ·They asked whether or not if I've had
            23· ·any communication with David Kleiman.· I said yes.

    H
            24· · · · Q.· · ·Okay.· And did they ask you what those
            25· ·communications were?


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            ·1· · · · A.· · ·Yes.
            ·2· · · · Q.· · ·And what was your response?

   H        ·3· · · · A.· · ·My response is is that we had several.
            ·4· ·I do not recount the number of times that we've
            ·5· ·had conversations between myself, Craig Wright,
            ·6· ·and Dave Kleiman, but the conversations were via a
            ·7· ·conference call talking about this very topic.
            ·8· · · · Q.· · ·Okay.· And who else was on that call
            ·9· ·with opposing counsel?
            10· · · · A.· · ·No one else.
            11· · · · Q.· · ·Well, how many attorneys were on the
            12· ·call?
            13· · · · A.· · ·It was just one attorney.
            14· · · · Q.· · ·Do you know his name?
            15· · · · A.· · ·Yes.· Mr. Freedman.
            16· · · · Q.· · ·Okay.· Did they ask you -- ask you
            17· ·whether you thought Dave was Satoshi?
   H-S-F

            18· · · · A.· · ·Yes.
            19· · · · Q.· · ·What was your response?
            20· · · · A.· · ·I said yes.
            21· · · · Q.· · ·Okay.· All right.· And what is the
F-R-PK      22· ·basis for your belief that Dave was Satoshi?
            23· · · · A.· · ·Mr. Kleiman suffered a tragic accident
            24· ·on his motorcycle -- I can't recall the exact date
            25· ·or year, to which he became physically


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             ·1· ·handicapped.· I believe he became paralyzed.· He
             ·2· ·eventually succumbed to his paralyzation.· Is that
S
             ·3· ·a valid word?
             ·4· · · · · · · ·When he passed on, he may have taken
             ·5· ·whatever secrets or knowledge that he had
             ·6· ·regarding bitcoin with him, if he did.
             ·7· · · · · · · ·The -- there is another reason.
             ·8· · · · Q.· · ·Okay.
             ·9· · · · A.· · ·The other reason is is that if
    S        10· ·Mr. Wright is truly Mr. Sakatosh -- Sakatoshi
             11· ·Nakamoto -- Satoshi Nakamoto -- pardon me.· It's a
             12· ·tongue-twister -- he would have provided the first
             13· ·key in the key chain.
             14· · · · Q.· · ·Okay.
             15· · · · A.· · ·A valid key.
             16· · · · Q.· · ·So starting first with -- you -- you

    S
             17· ·believe that Dr. Wright is not Satoshi Nakamoto
             18· ·because he hasn't yet shown a valid key to the
             19· ·genesis block?
             20· · · · A.· · ·Correct.
             21· · · · Q.· · ·Okay.· Is that the sole basis for your
             22· ·belief?
    F
             23· · · · A.· · ·It's based upon what I've known, and it
             24· ·is also based on what I've read from news media,
             25· ·what I've seen on You Tube, and what I've seen on


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        F
            ·1· ·blog sites involving bitcoin cryptocurrency
            ·2· ·experts.
            ·3· · · · Q.· · ·Okay.· Do you have any personal
            ·4· ·knowledge as to whether Dr. Wright is Satoshi
            ·5· ·Nakamoto?
            ·6· · · · A.· · ·I do not.
            ·7· · · · Q.· · ·Okay.· Now going back to Dave Kleiman,
            ·8· ·I believe I had asked you why you believe Dave was
  S-R       ·9· ·Satoshi, and then you responded that, "Well, any
            10· ·information that Dave had probably, when he passed
            11· ·away, got lost."
            12· · · · A.· · ·Yes.
            13· · · · Q.· · ·But is there any basis for believing
            14· ·there was information previously that indicated
            15· ·that Dave was Satoshi?
H-S-R       16· · · · A.· · ·Mr. Kleiman and Mr. Wright supposedly
            17· ·worked on bitcoin together.· I was not involved in
            18· ·any of that development.· I was not privy to any
            19· ·of that information.· I was a third party.
            20· · · · · · · ·Originally, my discussions with
            21· ·Mr. Wright was pertinent to cybersecurity and not
            22· ·bitcoin.
            23· · · · Q.· · ·Okay.
            24· · · · A.· · ·This is based on personal feelings,
            25· ·thoughts, objectives, and the fact that the two of


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     ·1· ·them were collaborating together, but aside from
     ·2· ·that, I have no further knowledge of any

A    ·3· ·arrangements or knowledge exchanged or knowledge
     ·4· ·known between the two individuals.
     ·5· · · · Q.· · ·Okay.· So would it be accurate to say
     ·6· ·that you have no personal knowledge as to whether
     ·7· ·Dave Kleiman was Satoshi Nakamoto?
     ·8· · · · A.· · ·Yes, I do not.
     ·9· · · · · · · MR. ROCHE:· Can we just move -- try to
     10· · · · move this closer --
     11· · · · · · · MR. KASS:· Sure.
     12· · · · · · · MR. ROCHE:· -- real quick?· Thank you.
     13· · · · Sorry to interrupt.
     14· · · · · · · THE WITNESS:· Just -- are they having a
     15· · · · difficult time hearing me, question mark?
     16· · · · · · · MR. ROCHE:· A little.· If --
     17· · · · · · · THE WITNESS:· I did --
     18· · · · · · · MR. ROCHE:· I think that will -- I
     19· · · · think that will solve the issue, though.
     20· · · · · · · THE WITNESS:· I did say I have a very
     21· · · · soft voice.
     22· · · · · · · MR. ROCHE:· You do, and I'm deaf in my
     23· · · · right ear, and I have a loud voice.· So we'll
     24· · · · be a little counterbalance.
     25· · · · · · · THE WITNESS:· Understood.


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     ·1· ·BY MR. KASS:
     ·2· · · · Q.· · ·All right.· Now, continuing from that
     ·3· ·same thread, do you have any personal knowledge as
     ·4· ·to whether Dave Kleiman owned any bitcoin?
     ·5· · · · A.· · ·No.
     ·6· · · · Q.· · ·Do you have any personal knowledge as
     ·7· ·to whether Dave Kleiman mined any bitcoin?
     ·8· · · · A.· · ·No.
     ·9· · · · Q.· · ·Do you have any personal knowledge as
     10· ·to whether Craig Wright owned any bitcoin?
     11· · · · A.· · ·No.
     12· · · · Q.· · ·Do you have any personal knowledge as
     13· ·to whether Craig Wright mined any bitcoin?
     14· · · · A.· · ·No.
     15· · · · Q.· · ·Do you have any personal knowledge as
     16· ·to whether Dave Kleiman created any
     17· ·bitcoin-related intellectual property?
     18· · · · A.· · ·No.
     19· · · · Q.· · ·Do you have any personal knowledge as
     20· ·to whether Craig Wright created any
     21· ·bitcoin-related intellectual property?
     22· · · · A.· · ·Aside from what I've read in the news
     23· ·media, no.
     24· · · · Q.· · ·Okay.· And to clarify, anything that
     25· ·you read on the news media wouldn't be personal


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     ·1· ·knowledge?
     ·2· · · · A.· · ·Correct.
     ·3· · · · Q.· · ·Have you authored any books?
     ·4· · · · A.· · ·Yes.
     ·5· · · · · · · MR. KASS:· I'm going to introduce as
     ·6· · · · Exhibit 2 this document.
     ·7· · · · · · · THE WITNESS:· Do I give this to you or
     ·8· · · · to him?
     ·9· · · · · · · MR. KASS:· So the court reporter will
     10· · · · give it to you in a second.· Just wait until
     11· · · · she...
     12· · · · · · · · · · · ·(Radvanovsky Deposition
     13· · · · · · · · · · · ·Exhibit 2 was marked for
     14· · · · · · · · · · · ·identification.)
     15· · · · · · · · · · · ·(Document tendered.)
     16· · · · · · · THE WITNESS:· Thank you.
     17· ·BY MR. KASS:
     18· · · · Q.· · ·Do you recognize what this document is?
     19· · · · A.· · ·Yes.
     20· · · · Q.· · ·And what is it?
     21· · · · A.· · ·This is a current listing of the number
     22· ·of books that I have authored and co-authored.
     23· · · · Q.· · ·And does it appear to be accurate?
     24· · · · A.· · ·No.
     25· · · · Q.· · ·Okay.· What's not accurate about it?


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     ·1· · · · A.· · ·You're missing the first edition of the
     ·2· ·handbook of SCADA/Control Systems Security.
     ·3· · · · Q.· · ·Okay.· Is there anything else that's
     ·4· ·not accurate about it, anything additional?
     ·5· · · · A.· · ·Let's see.· You are missing the second
     ·6· ·edition of my "Critical Infrastructure" book.
     ·7· · · · Q.· · ·Okay.· Anything else?
     ·8· · · · A.· · ·No.
     ·9· · · · Q.· · ·Okay.· Did anybody help you in
     10· ·authoring these books?
     11· · · · A.· · ·Yes.
     12· · · · Q.· · ·Was Craig Wright one of the people that
     13· ·helped you?
     14· · · · A.· · ·Yes.
     15· · · · Q.· · ·Which book did he help you?
     16· · · · A.· · ·He assisted me on the "Handbook of
     17· ·SCADA/Control Systems Security," both first and
     18· ·second editions.
     19· · · · Q.· · ·Any additional books that he worked
     20· ·with you on?
     21· · · · A.· · ·No.
     22· · · · Q.· · ·How about Dave Kleiman?
     23· · · · A.· · ·No.
     24· · · · Q.· · ·And to clarify my question, did he help
     25· ·you with any these books?


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        ·1· · · · A.· · ·No.
        ·2· · · · Q.· · ·Okay.· And I'm just going to quickly go
        ·3· ·back to the previous topic.
        ·4· · · · · · · ·Are you aware of any partnership
        ·5· ·between Dr. Wright and Dave Kleiman to mine
        ·6· ·bitcoin?
        ·7· · · · A.· · ·No.
        ·8· · · · Q.· · ·Are you aware of any partnership

H
        ·9· ·between Dr. Wright and Dave Kleiman to create
        10· ·bitcoin-related intellectual property?
        11· · · · A.· · ·That was one of the topics in one of
        12· ·the conference calls.
        13· · · · Q.· · ·Okay.· Which conference call?
        14· · · · A.· · ·I -- I'm -- I -- I -- I don't know.
        15· · · · Q.· · ·Okay.· Let -- I'm going to try and
        16· ·break this down a little bit.
        17· · · · A.· · ·There -- there were several conference
    H   18· ·calls, but I did not take notes.· I did not take
        19· ·record of them.· The conference calls were not
        20· ·recorded.· I did not record any of the
        21· ·conversations.
        22· · · · Q.· · ·Okay.· Who was on that phone call?
        23· · · · A.· · ·Mr. Kleiman and Dr. Wright.
        24· · · · Q.· · ·Okay.· When did this phone call take
        25· ·place?


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         ·1· · · · A.· · ·I want to say approximately 2009.
         ·2· · · · Q.· · ·2009?
         ·3· · · · A.· · ·Some -- sometime in 2009.· I don't know
         ·4· ·the month or a specific date.
H        ·5· · · · Q.· · ·So -- and what was the substance of
         ·6· ·this conversation?
         ·7· · · · A.· · ·The substance was talking about
         ·8· ·developing a Blockchain technology that was -- was
         ·9· ·supposed to be revolutionary.· Aside from that,
         10· ·there were very little details that were provided
         11· ·in the conference call.
         12· · · · Q.· · ·Okay.
         13· · · · A.· · ·As best as I can tell.
         14· · · · Q.· · ·I'm trying to reconcile that with your
         15· ·previous statement where you stated that you have
         16· ·no personal knowledge of any connection that they
         17· ·have to bitcoin.
         18· · · · A.· · ·I -- as far as I'm concerned, this was
         19· ·a discussion between three gentlemen.· I don't
         20· ·know if, at the time, they had made arrangements
         21· ·between each other.· I don't know if they had made
         22· ·arrange -- arrangements following the conference
         23· ·call.
         24· · · · · · · ·I -- and if they did, I'm unaware of
         25· ·the time frame by which they did that.


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     ·1· · · · Q.· · ·Okay.· So let's just break this down.
     ·2· · · · · · · ·There was a call between Dave Kleiman,
     ·3· ·Dr. Wright, and yourself?
     ·4· · · · A.· · ·Yes.
     ·5· · · · Q.· · ·Okay.· Do you recall who said what?
     ·6· · · · A.· · ·No.· I do not recall any of the
     ·7· ·specifics of the conversation or conversations
     ·8· ·between the three of us.
     ·9· · · · Q.· · ·Okay.· And can you recall anything,
     10· ·then, that they were talking about some sort of
     11· ·Blockchain technology?
     12· · · · A.· · ·That was about the gist of it.
     13· · · · Q.· · ·That was it.· Okay.· And were there any
     14· ·follow-up conversations after that?
     15· · · · A.· · ·No.
     16· · · · Q.· · ·Okay.
     17· · · · A.· · ·As best as I can tell, not that I can
     18· ·recall, no.
     19· · · · Q.· · ·Okay.· And prior to --
     20· · · · · · · MR. ROCHE:· Do you want to -- who just
     21· · · · joined?
     22· · · · · · · MR. FREEDMAN:· Velvel Freedman.· Sorry
     23· · · · for being late.
     24· ·BY MR. KASS:
     25· · · · Q.· · ·Okay.· And prior to this date, had you


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     ·1· ·heard of bitcoin?
     ·2· · · · A.· · ·Yes.
     ·3· · · · Q.· · ·So bitcoin already was in existence --
     ·4· · · · A.· · ·Yes.
     ·5· · · · Q.· · ·-- when you had this conversation?
     ·6· · · · A.· · ·Yes, I believe so.
     ·7· · · · Q.· · ·Okay.· So would it be fair to say --
     ·8· ·state they were talking about a different
     ·9· ·Blockchain technology?
     10· · · · A.· · ·I don't know.
     11· · · · Q.· · ·Okay.
     12· · · · A.· · ·I -- my involvement in a lot of this is
     13· ·very much removed.· I'm not sure if I was involved
     14· ·merely as a witness or if I was to provide some
     15· ·level of expertise to both Mr. Kleiman and
     16· ·Dr. Wright.
     17· · · · · · · ·I had stated that cryptography is a
     18· ·weakness of mine in that I am mildly knowledgeable
     19· ·of how cryptography operates, but aside from
     20· ·that...
     21· · · · Q.· · ·Could they have been talking about
     22· ·creating a bitcoin wallet?
     23· · · · A.· · ·I don't know.
     24· · · · · · · MR. ROCHE:· Objection.
     25· · · · · · · THE WITNESS:· I'm sorry?


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     ·1· · · · · · · MR. KASS:· Oh.· I'll -- okay.· So
     ·2· · · · sometimes opposing counsel may state,
     ·3· · · · "Objection," and you could essentially just
     ·4· · · · respond unless opposing counsel says, "Do not
     ·5· · · · respond."
     ·6· · · · · · · · · · So as long as there's an
     ·7· · · · instruction -- as long as there's not an
     ·8· · · · instruction not to respond, you can just
     ·9· · · · respond and then --
     10· · · · · · · THE WITNESS:· Am I to respond to this?
     11· · · · · · · MR. ROCHE:· Yes.
     12· · · · · · · MR. KASS:· Yeah.· And he will tell you
     13· · · · affirmatively that you should not respond.
     14· · · · Otherwise, you can essentially ignore hi- --
     15· · · · what he stated.
     16· · · · · · · MR. ROCHE:· Correct.
     17· · · · · · · THE WITNESS:· Okay.· Understood.
     18· ·BY MR. KASS:
     19· · · · Q.· · ·So would it be fair to say you had this
     20· ·conversation talking about some sort of
     21· ·development related to some sort of bitcoin
     22· ·technology, but you're not sure exactly what?
     23· · · · · · · MR. ROCHE:· Objection; form.
     24· ·BY THE WITNESS:
     25· · · · A.· · ·Correct.


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     ·1· ·BY MR. KASS:
     ·2· · · · Q.· · ·And this conversation happened after
     ·3· ·the bitcoin protocol was already released?
     ·4· · · · · · · THE WITNESS:· Is there still an
     ·5· · · · objection, sir?
     ·6· · · · · · · THE COURT REPORTER:· Could we go off
     ·7· · · · the record one moment?
     ·8· · · · · · · MR. KASS:· Yeah.· Okay.· Let's -- let's
     ·9· · · · go off the record a second.
     10· · · · · · · THE VIDEOGRAPHER:· Off the record at
     11· · · · 10:26 a.m.
     12· · · · · · · · · · · ·(A recess was had from
     13· · · · · · · · · · · ·10:26 a.m. until 10:28 a.m.)
     14· · · · · · · THE VIDEOGRAPHER:· Back on the record
     15· · · · at 10:28 a.m.
     16· ·BY MR. KASS:
     17· · · · Q.· · ·Okay.· And I just want to make sure I
     18· ·understand the scope of this conversation.
     19· · · · · · · ·Was it -- or, were there any other
     20· ·conversations with you and Dr. Wright and Dave
     21· ·Kleiman where Blockchain technology was brought
     22· ·up?
     23· · · · A.· · ·To the best of my knowledge, no.
     24· · · · Q.· · ·Okay.· Are you familiar with computer
     25· ·hacks?


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     ·1· · · · A.· · ·Yes.
     ·2· · · · Q.· · ·Are you familiar with computer viruses?
     ·3· · · · A.· · ·Yes.
     ·4· · · · Q.· · ·Are they the same thing?
     ·5· · · · A.· · ·They can be.
     ·6· · · · Q.· · ·When would they be the same thing?
     ·7· · · · A.· · ·If viruss are representative as a form
     ·8· ·of malware, malware can be distributed via
     ·9· ·electronic mail, file transfers, other
     10· ·applications making use of vulnerabilities
     11· ·pertinent to either software or firmware contained
     12· ·on said devices.
     13· · · · Q.· · ·Okay.· And how -- is it common to be
     14· ·hacked?
     15· · · · A.· · ·Can I get some clarification on that,
     16· ·please?
     17· · · · Q.· · ·Of course.· Do you have any knowledge
     18· ·as to how prevalent the risk of getting hacked is
     19· ·on a computer?
     20· · · · A.· · ·Again, please clarify that.
     21· · · · Q.· · ·Sure.
     22· · · · A.· · ·Hacked as in active hacking, passive
     23· ·hacking or via malware?
     24· · · · Q.· · ·All right.· Let's maybe take one at a
     25· ·time.


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                                                                      Relevance
     ·1· · · · A.· · ·Okay.
     ·2· · · · Q.· · ·Let's start with active hacking.
     ·3· · · · A.· · ·Okay.· So the question again is?
     ·4· · · · Q.· · ·How -- how prevalent is the risk of
     ·5· ·active hacking?
     ·6· · · · A.· · ·Prevalent --
     ·7· · · · · · · MR. ROCHE:· Objection.
     ·8· ·BY MR. KASS:
                                                                  Relevance
     ·9· · · · Q.· · ·You can continue.
     10· · · · A.· · ·The risk is prevalent.· There has been
     11· ·a spike and dramatic increase in the number of
     12· ·active attacks from hackers abroad to infiltrate
     13· ·our critical infrastructure.
     14· · · · · · · ·Most notably, electric grid.
     15· · · · Q.· · ·Okay.· And how about passive hacking?
     16· · · · · · · MR. ROCHE:· Objection; lack of
     17· · · · foundation.
     18· ·BY MR. KASS:
     19· · · · Q.· · ·You can continue.                          Relevance

     20· · · · A.· · ·Passive hacking is similar to malware.
     21· ·The only difference is, it utilizes what are
     22· ·called rootkits.· Rootkits are not considered a
     23· ·form of -- well, it depends upon your perspective.
     24· ·They could be considered malware, but typically,
     25· ·they're not.


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     ·1· · · · · · · ·Rootkits are where a file is dropped,
     ·2· ·meaning uploaded, onto a given system.· And from
     ·3· ·there, whoever accesses that particular file or
     ·4· ·files is then exposed to the rootkit by which then
     ·5· ·it creates a potential drawbridge attack.
     ·6· · · · · · · ·A drawbridge attack is where an
     ·7· ·individual or a group of individuals or an
     ·8· ·organization has managed to plant a software or
     ·9· ·group of software files by which now they have
     10· ·complete, unadulterated access to the internal
     11· ·network of a given organization, at which point in
     12· ·time, it contacts out, and it bypasses the
     13· ·firewalls.
     14· · · · · · · ·And in doing so, they eliminate any
     15· ·protections or any security controls that had been
     16· ·established by said organization.
     17· · · · Q.· · ·Okay.· And in both active or passive
     18· ·hacking, it possible to be hacked without
     19· ·knowing --
     20· · · · · · · MR. ROCHE:· Objection.
     21· ·BY MR. KASS:                                             Relevance
     22· · · · Q.· · ·-- that you've been hacked?
     23· · · · · · · MR. ROCHE:· Calls for expert testimony.
     24· ·BY MR. KASS:
     25· · · · Q.· · ·You can continue.


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                                                                     Relevance
     ·1· · · · A.· · ·What was the question again?
     ·2· · · · Q.· · ·In both passive or active hacking, is
     ·3· ·it possible to be hacked without knowing?
     ·4· · · · A.· · ·Yes.· Question.· What is hacking
     ·5· ·pertinent to this particular case?· Can I get some
     ·6· ·clarification, please?
     ·7· · · · Q.· · ·Unfortunately, that's something that
     ·8· ·I'm not at the li- -- well, I'm not at liberty to
     ·9· ·respond to.· Generally, I get -- I ask the
     10· ·questions, and you respond.
     11· · · · · · · ·And the -- what I -- what ultimately
     12· ·will end up happening is that the judge will
     13· ·decide whether or not it's relevant.· If it's not
     14· ·relevant, he will just ignore the testimony.
     15· · · · A.· · ·Okay.· Please continue.
     16· · · · Q.· · ·Okay.· Have you ever heard of an entity
     17· ·called W&K Information Defense, LLC?
     18· · · · A.· · ·I'm sorry?
     19· · · · Q.· · ·Have you ever heard of the company
     20· ·called W&K Information Defense, LLC?
     21· · · · A.· · ·No.
     22· · · · · · · MR. ROCHE:· Objection.
     23· ·BY MR. KASS:
     24· · · · Q.· · ·Okay.· Do you have any information --
     25· ·and going forward, I'm just going to refer to that


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     ·1· ·company as "W&K," okay?
     ·2· · · · A.· · ·Okay.
     ·3· · · · Q.· · ·Do you know -- do you have any
     ·4· ·information related to the formation of W&K?
     ·5· · · · A.· · ·No.
     ·6· · · · · · · MR. ROCHE:· Objection.
     ·7· ·BY MR. KASS:
     ·8· · · · Q.· · ·Do you have any information related to
     ·9· ·the purpose of W&K?
     10· · · · · · · MR. ROCHE:· Objection.
     11· ·BY THE WITNESS:
     12· · · · A.· · ·No.
     13· ·BY MR. KASS:
     14· · · · Q.· · ·Do you have any information related to
     15· ·W&K's activities?
     16· · · · · · · MR. ROCHE:· Objection.
     17· ·BY THE WITNESS:
     18· · · · A.· · ·No.
     19· ·BY MR. KASS:
     20· · · · Q.· · ·Do you know who the members of W&K are?
     21· · · · · · · MR. ROCHE:· Objection.
     22· ·BY THE WITNESS:
     23· · · · A.· · ·No.
     24· ·BY MR. KASS:
     25· · · · Q.· · ·Have you ever known who the members of


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     ·1· ·W&K are?
     ·2· · · · · · · MR. ROCHE:· Objection.
     ·3· ·BY THE WITNESS:
     ·4· · · · A.· · ·No.
     ·5· ·BY MR. KASS:
     ·6· · · · Q.· · ·Do you know if W&K ever mined bitcoin?
     ·7· · · · · · · MR. ROCHE:· Objection.
     ·8· ·BY THE WITNESS:
     ·9· · · · A.· · ·I do not know.
     10· ·BY MR. KASS:
     11· · · · Q.· · ·Do you know if it ever developed
     12· ·intellectual property?
     13· · · · · · · MR. ROCHE:· Objection.
     14· ·BY THE WITNESS:
     15· · · · A.· · ·I do not know.
     16· ·BY MR. KASS:
     17· · · · Q.· · ·At some point in time, did Craig Wright
     18· ·ask you to collaborate on a proposal to the
     19· ·Department of Homeland Defense?
     20· · · · A.· · ·You mean -- a clarification.· You mean
     21· ·U.S. Department of Homeland Security?
     22· · · · Q.· · ·Yes.
     23· · · · A.· · ·Yes.
     24· · · · Q.· · ·Okay.· And what was your role to be?
     25· · · · A.· · ·We were looking at developing


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     ·1· ·something -- I'm not sure what -- to propose to
     ·2· ·DHS.· There were a few emails that were exchanged
     ·3· ·between him and myself.· There were several Skype
     ·4· ·telephone calls between Craig Wright and myself,
     ·5· ·but it never went beyond the embryonic stage.
     ·6· · · · · · · ·"Embryonic stage," just to clarify,
     ·7· ·means it's casual discussion, but nothing has been
     ·8· ·formalized.
     ·9· · · · Q.· · ·Okay.· When did you first come into
     10· ·contact with Craig Wright?
     11· · · · A.· · ·Sometime between 1999 and 2000.· This
     12· ·was on both a mailing list called SCADA
     13· ·Perspectives.· Back then -- I'm trying to remember
     14· ·the name.· SCADA Gospel was what it was originally
     15· ·called.· I know the gentleman's first name.· His
     16· ·name was Ian, but I cannot remember his last name.
     17· ·He is -- excuse me -- was and retired a process
     18· ·control engineer.
     19· · · · · · · ·It dealt with SCADA and ICS, Industrial
     20· ·Control Systems', security.
     21· · · · Q.· · ·Okay.
     22· · · · A.· · ·We first met up on there -- eventually
     23· ·our conversations migrated over to security focus.
     24· ·Generally, the topic of discussion was on auditing
     25· ·of SCADA systems, as well as defining what is an


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     ·1· ·event versus what is an incident, along with
     ·2· ·measures of attestation.
     ·3· · · · · · · ·I believe there was some discussion
     ·4· ·about conducting forensics on SCADA and control
     ·5· ·systems as well.· So, roughly 20 years.
     ·6· · · · Q.· · ·All right.· And can you recall any
     ·7· ·other topics of conversation that you would speak
     ·8· ·to him about?
     ·9· · · · A.· · ·No.
     10· · · · Q.· · ·Okay.
     11· · · · A.· · ·Just so you know, to further clarify --
     12· · · · Q.· · ·Yes, please.
     13· · · · A.· · ·-- in the two editions of the SCADA --
     14· ·the "Handbook of SCADA/Control Systems Security,
     15· ·Mr. -- Dr. Wright's contribution dealt with
     16· ·auditing of SCADA and industrial control systems.
     17· · · · Q.· · ·Thank you for that additional
     18· ·clarification.
     19· · · · A.· · ·I'm sorry?
     20· · · · Q.· · ·Thank you for that additional
     21· ·information.
     22· · · · A.· · ·You're welcome.
     23· · · · · · · MR. KASS:· I'm going to introduce
     24· · · · Exhibit 3 now.
     25


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     ·1· · · · · · · · · · · ·(Radvanovsky Deposition
     ·2· · · · · · · · · · · ·Exhibit 3 was marked for
     ·3· · · · · · · · · · · ·identification.)
     ·4· · · · · · · · · · · ·(Document tendered.)
     ·5· · · · · · · THE WITNESS:· Thank you.
     ·6· ·BY MR. KASS:
     ·7· · · · Q.· · ·Do you -- take a moment to look at this
     ·8· ·email.
     ·9· · · · · · · ·Do you recognize it?
     10· · · · A.· · ·Yes, I do.
     11· · · · Q.· · ·And would you be able to tell me what
     12· ·had happened in this email?· What's the subject of
     13· ·the email?
     14· · · · · · · ·And to clarify, I'm really only
     15· ·concerned with the first two pages.
     16· · · · A.· · ·Oh.
     17· · · · Q.· · ·You don't have to go through the all of
     18· ·that.
     19· · · · A.· · ·Understood.· All right.· So let me look
     20· ·at those.
     21· · · · · · · ·Mr. -- Mr. Dr. Wright had a flare for a
     22· ·sense of humor, and I will say that I miss it.
     23· · · · Q.· · ·Okay.
     24· · · · A.· · ·We've had some numerous discussions
     25· ·similar to this via both email and security focus.


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     ·1· · · · Q.· · ·Okay.· So --
     ·2· · · · A.· · ·All right.· So to clarify, this
     ·3· ·constitutes two points.
     ·4· · · · · · · ·One -- let's see.· What was this date?
     ·5· ·2011.· Back in 2010, there was an individual that
     ·6· ·owned a blogging site.· It has since then not been
     ·7· ·maintained or updated and whatever last postings
     ·8· ·are years ago.
     ·9· · · · · · · ·He got on my case about me providing
     10· ·some links.· I took some direct quotes from the
     11· ·posts and posted them on SCADASEC, and I will
     12· ·further clarify that as well.
     13· · · · · · · ·And he was a member of the SCADASEC
     14· ·mailing list.· The SCADASEC mailing list is a
     15· ·mailing list that I own, control, and manage.· It
     16· ·is provided by a dedicated server that I have at
     17· ·my home.· It is available 24/7.· It continues to
     18· ·operate today.· Incept date was 3 February 2008.
     19· · · · · · · ·The individual posted a comment about
     20· ·me violating copyrights.· I can see the eyes
     21· ·rolling.· Even though under the fair use clause of
     22· ·the Copyright Act, he made a big stink about this.
     23· · · · Q.· · ·Okay.
     24· · · · A.· · ·So I ended up retracting the posting
     25· ·that I posted, and I deleted the posting and all


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     ·1· ·subsequent postings from that point back to the
     ·2· ·initial inception.
     ·3· · · · · · · ·With regards to the other part at the
     ·4· ·time, a gentleman by the name of John Matherly had
     ·5· ·created a search engine website called Shodan.
     ·6· ·Shodan is based on -- it's a hacker
     ·7· ·acknowledgement towards a computer science
     ·8· ·computer hacker nomenclature called "The
     ·9· ·Necromancer."
     10· · · · · · · ·Shodan -- and it's still operating
     11· ·today -- at the time interrogates devices that are
     12· ·directly connected to the internet.· At the time,
     13· ·I was developing a product, and this was a private
     14· ·research product under infracritical.
     15· · · · · · · ·The premise was to gauge how many SCADA
     16· ·and industrial control systems we extended,
     17· ·widened to net to include industrial internet of
     18· ·things, as well as internet of things that may
     19· ·have control over physical devices.
     20· · · · · · · ·This was code-named Project SHINE.
     21· · · · Q.· · ·Okay.
     22· · · · A.· · ·SHINE means Shodan Intelligence Network
     23· ·Extraction.· The project was originally developed
     24· ·back in early to mid-2008.· It didn't start
     25· ·gathering data until about this time frame, I


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     ·1· ·believe a little bit later after this.
     ·2· · · · · · · ·It was concluded in January of 2014.
     ·3· · · · Q.· · ·Okay.
     ·4· · · · A.· · ·And in doing so, we found over
     ·5· ·2 million devices, and because of the fact that we
     ·6· ·were -- myself and another individual who I'm not
     ·7· ·privy to name at this time -- no relation, no
     ·8· ·affiliation with this ever, whatsoever -- who was
     ·9· ·working with me on this.
     10· · · · · · · ·We expanded the number of criteria set
     11· ·for the number of manufacturers, devices, and
     12· ·search terms that we utilized.· This made news.
     13· ·This made both national and international news.
     14· · · · · · · ·And there was discussions about this in
     15· ·terms of this very topic.
     16· · · · Q.· · ·Okay.· I just want to focus on the
     17· ·email from Dr. Wright, the second paragraph.· It
     18· ·says, "It's a shame that Scott scraped data from
     19· ·Bob's list without attribution."
     20· · · · · · · ·What does that mean?
     21· · · · A.· · ·I'm trying to remember it.· Honestly, I
     22· ·do not know.
     23· · · · Q.· · ·Okay.· Would a fair interpretation be
     24· ·that somebody had taken something that you had
     25· ·written and used it without attributing it to you?


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     ·1· · · · · · · MR. ROCHE:· Objection; calls for
     ·2· · · · speculation.
     ·3· ·BY THE WITNESS:
     ·4· · · · A.· · ·There was no interpretation -- no
     ·5· ·interpretation.· There was no stealing of any
     ·6· ·content because everything that we post,
     ·7· ·everything that is posted on SCADASEC -- and we do
     ·8· ·have legal disclaimers stating as such -- is --
     ·9· ·everything that is posted on this mailing list is
     10· ·considered public domain.
     11· ·BY MR. KASS:
     12· · · · Q.· · ·Okay.· So you would -- you weren't
     13· ·upset that this Scott took that information --
     14· · · · A.· · ·The on --
     15· · · · Q.· · ·-- or used it --
     16· · · · A.· · ·The on- --
     17· · · · · · · MR. ROCHE:· Objection.
     18· · · · · · · THE WITNESS:· I'm sorry.
     19· ·BY MR. KASS:
     20· · · · Q.· · ·You can continue.
     21· · · · A.· · ·The only thing that I said was
     22· ·basically the guy is smoking something other than
     23· ·cigarettes.
     24· · · · Q.· · ·Okay.· Would it be fair to say that
     25· ·Dr. Wright sort of jumped to your defense and got


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     ·1· ·a little riled up --
     ·2· · · · A.· · ·Yes.
     ·3· · · · Q.· · ·-- that somebody was --
     ·4· · · · A.· · ·Yes.
     ·5· · · · · · · MR. ROCHE:· Objection; calls for
     ·6· · · · speculation.
     ·7· ·BY THE WITNESS:
     ·8· · · · A.· · ·No.· It's very -- very much so.
     ·9· ·BY MR. KASS:
     10· · · · Q.· · ·Okay.
     11· · · · A.· · ·Craig -- Craig, at the time, was
     12· ·looking at expanding his horizons.· And part of it
     13· ·is, sometime between 2008 and 2010, there was an
     14· ·upswell movement in securing critical
     15· ·infrastructure cyber assets.
     16· · · · · · · ·These were cyber assets that pertained
     17· ·to managed, controlled, manipulated our critical
     18· ·infrastructure, things such as water pumps,
     19· ·variable frequency drives, variable speed drives,
     20· ·relays, switches.· And when I infer "switches," I
     21· ·mean electrical switches as opposed to networking
     22· ·switches.
     23· · · · Q.· · ·Okay.
     24· · · · A.· · ·At the time, the United States was in
     25· ·the process of trying to ramp up their


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     ·1· ·cybersecurity program, and they were very new to
     ·2· ·this process.
     ·3· · · · · · · ·So we were part of that wave that was
     ·4· ·prevalent on the forefront that was talking
     ·5· ·about -- and -- and some of this was philosophical
     ·6· ·discussions as well -- about how do you go about
     ·7· ·securing a control system?
     ·8· · · · Q.· · ·Okay.
     ·9· · · · A.· · ·These control systems are moderately
     10· ·smart.· They are smart enough to perform very --
     11· ·what's the word I'm looking for?· Not "terse," but
     12· ·basic functions; turn something on, turn something
     13· ·off, gather some data through telemetry or through
     14· ·the sensor, acquire that information and process
     15· ·accordingly to that.
     16· · · · · · · ·This email is basically commentary/rant
     17· ·by both myself and Dr. Wright.
     18· · · · Q.· · ·Okay.
     19· · · · A.· · ·And we have -- we had a number of Skype
     20· ·conversations pertinent to this topic and not to
     21· ·bitcoin, but this particular topic -- excuse me --
     22· ·where we've talked about people who are entering
     23· ·this community, this field of knowledge, field of
     24· ·interest that have no right to be involved in.
     25· · · · Q.· · ·Understood.· When -- when did you first


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     ·1· ·come in contact with David Kleiman?
     ·2· · · · A.· · ·I want to say sometime between late
     ·3· ·2008 and early to mid-2009.
     ·4· · · · Q.· · ·Okay.· And how did that contact come
     ·5· ·about?
     ·6· · · · A.· · ·Through Dr. Wright.
     ·7· · · · Q.· · ·Okay.· And how often -- from once you
     ·8· ·got to know doc- -- Dave Kleiman, how frequent
     ·9· ·would you be in contact with him?
     10· · · · A.· · ·I was not personally in direct contact
     11· ·with Mr. Kleiman.
     12· · · · Q.· · ·Did you ever have any conversations
     13· ·with Dr. -- I mean, with Dave Kleiman?
     14· · · · A.· · ·No.· Outside of the conference calls
     15· ·where it was between Dr. Wright, Dave Kleiman, and
     16· ·myself, no.
     17· · · · Q.· · ·Okay.· So, no direct communication with
     18· ·him?
     19· · · · A.· · ·None.
     20· · · · Q.· · ·Got it.· And when you were on those
     21· ·conference calls, did Dave Kleiman ever say
     22· ·anything bad about Dr. Wright?
     23· · · · A.· · ·To the best of my knowledge, no.
     24· · · · Q.· · ·And I just want to go back to that
     25· ·conversation, the Skype conversation I believe you


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     ·1· ·said, sometime in 2009 after bitcoin already
     ·2· ·existed, but there was a conversation between
     ·3· ·Dr. Wright and Dave Kleiman about some sort of
     ·4· ·bitcoin project.
     ·5· · · · A.· · ·Right.
     ·6· · · · Q.· · ·Do you know if anything ever came of
     ·7· ·that?
     ·8· · · · · · · MR. ROCHE:· Objection.
     ·9· ·BY THE WITNESS:
     10· · · · A.· · ·I do not know.
     11· ·BY MR. KASS:
     12· · · · Q.· · ·Okay.· So would it be fair to say the
     13· ·only thing you know is, there was a conversation
     14· ·about some idea related to some Blockchain
     15· ·technology?
     16· · · · · · · MR. ROCHE:· Objection; form.
     17· ·BY THE WITNESS:
     18· · · · A.· · ·Yes.
     19· ·BY MR. KASS:
     20· · · · Q.· · ·And I want to go back to -- you stated
     21· ·you had a conversation with counsel for Ira
     22· ·Kleiman, and that happened a little while ago; it
     23· ·took about a half-hour?
     24· · · · A.· · ·Uh-huh.
     25· · · · Q.· · ·Did you have any other conversations


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     ·1· ·with counsel for Ira Kleiman?
     ·2· · · · A.· · ·I have had several short conversations
     ·3· ·with counsel for -- for the Kleiman estate, yes.
     ·4· · · · Q.· · ·And when did those conversations take
     ·5· ·place?
     ·6· · · · A.· · ·Sporadically throughout the remainder
     ·7· ·of 2008 and early to mid-2009 -- '19.· Excuse me.
     ·8· · · · Q.· · ·Okay.· And what was the substance of
     ·9· ·those conversations?
     10· · · · A.· · ·Just further clarification.· And the
     11· ·clarification was about the information provided
     12· ·to the Kleiman estate.
     13· · · · Q.· · ·Okay.· The information being
     14· ·documentation?
     15· · · · A.· · ·Yes, what you have in the USB stick.
     16· · · · Q.· · ·Got it.· Is there anything that you
     17· ·provided the -- the Kleiman estate that is not on
     18· ·the USB stick that you gave me today?
     19· · · · A.· · ·No.
     20· · · · Q.· · ·Do you recall what needed to be
     21· ·clarified?
     22· · · · · · · MR. ROCHE:· Objection.
     23· ·BY THE WITNESS:
     24· · · · A.· · ·They -- honestly, I do not remember.                 I
     25· ·am sorry.


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     ·1· ·BY MR. KASS:
     ·2· · · · Q.· · ·That's okay.
     ·3· · · · A.· · ·It's not that I'm trying to evade this.
     ·4· · · · Q.· · ·Sure.
     ·5· · · · A.· · ·It's just that I cannot recall.
     ·6· · · · Q.· · ·I understand.· Do you have any written
     ·7· ·communications with any attorneys for Ira Kleiman?
     ·8· · · · A.· · ·No.· As in physical, as in -- no.
     ·9· · · · Q.· · ·What about electronic written
     10· ·communications?
     11· · · · A.· · ·I do have several electronic
     12· ·communications.
     13· · · · Q.· · ·Would those be emails?
     14· · · · A.· · ·Yes.
     15· · · · Q.· · ·Are there any other types of electronic
     16· ·communications?
     17· · · · A.· · ·No.
     18· · · · Q.· · ·Okay.· And those electronic
     19· ·communications, have you already provided them to
     20· ·us?· "Us" being the defense counsel.
     21· · · · A.· · ·I was not told that I needed to provide
     22· ·those conversations.· Those conversations between
     23· ·myself and the plaintiff was not inclusive in that
     24· ·USB stick that you received.
     25· · · · Q.· · ·I'm going to ask us that you do send us


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     ·1· ·those electronic communications.
     ·2· · · · · · · THE WITNESS:· Plaintiff, what should I
     ·3· · · · do?
     ·4· · · · · · · MR. ROCHE:· No objection.
     ·5· · · · · · · THE WITNESS:· Okay.
     ·6· ·BY MR. KASS:
     ·7· · · · Q.· · ·At any point in time, did counsel for
     ·8· ·the plaintiffs ask you to fill out some sort of
     ·9· ·declaration?
     10· · · · A.· · ·No.· As best as I can recall, no.
     11· · · · Q.· · ·Okay.· And then would it be fair to say
     12· ·that you didn't fill out any declaration related
     13· ·to this case?
     14· · · · A.· · ·As best as I can tell, no.
     15· · · · Q.· · ·Okay.· And I just want to make sure
     16· ·we're on the same page.· By "declaration," I mean
     17· ·any written statement.
     18· · · · A.· · ·There -- outside of receiving a
     19· ·subpoena to provide information, no?
     20· · · · Q.· · ·Okay.
     21· · · · A.· · ·The only written documentation that I
     22· ·received was via subpoena.
     23· · · · Q.· · ·Got it.· Okay.· Well, we'll get all the
     24· ·documentation anyways.· And then I can look at it.
     25· ·Okay.


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     ·1· · · · · Have you ever spoken with Ira Kleiman?
     ·2· ·A.· · ·No.
     ·3· · · · ·MR. ROCHE:· Zalman --
     ·4· · · · ·MR. KASS:· Yup.
     ·5· · · · ·MR. ROCHE:· -- we've been going a
     ·6· ·little over an hour.
     ·7· · · · ·MR. KASS:· I --
     ·8· · · · ·MR. ROCHE:· When you come to a natural
     ·9· ·point, can we take a quick --
     10· · · · ·MR. KASS:· Yeah.
     11· · · · ·MR. ROCHE:· -- five-minute bathroom
     12· ·break?
     13· · · · ·MR. KASS:· I'm actually running close
     14· ·to the end.· So give me, like, another five
     15· ·minutes, and I'll take a break anyways.              I
     16· ·may even be done.
     17· · · · ·MR. ROCHE:· Okay.
     18· · · · ·MR. KASS:· So what -- we're getting
     19· ·very close, yes.
     20· · · · ·MR. ROCHE:· Okay.
     21· · · · ·MR. KASS:· Unless, do you want to stop
     22· ·now?· We can stop earlier.
     23· · · · ·THE WITNESS:· No.· I'm -- I'll --
     24· · · · ·MR. KASS:· You're good?
     25· · · · ·THE WITNESS:· Yeah, I'm good.


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     ·1· · · · · · · MR. KASS:· Okay.· All right.· Let's do
     ·2· · · · another -- go for another five minutes.
     ·3· · · · · · · MR. ROCHE:· Sounds good.
     ·4· ·BY MR. KASS:
     ·5· · · · Q.· · ·Do you know why plaintiffs' counsel
     ·6· ·reached out to you?
     ·7· · · · · · · MR. ROCHE:· Objection.
     ·8· ·BY THE WITNESS:
     ·9· · · · A.· · ·No.
     10· ·BY MR. KASS:
     11· · · · Q.· · ·Did you have any hesitation speaking
     12· ·with plaintiffs' counsel?
     13· · · · · · · MR. ROCHE:· Objection.
     14· ·BY THE WITNESS:
     15· · · · A.· · ·No.
     16· ·BY MR. KASS:
     17· · · · Q.· · ·Did defense counsel reach out to you?
     18· · · · A.· · ·Regarding this?
     19· · · · Q.· · ·Yes.
     20· · · · A.· · ·No.
     21· · · · Q.· · ·Regarding the case.
     22· · · · A.· · ·Regarding the case prior to this
     23· ·deposition?
     24· · · · Q.· · ·Yes.
     25· · · · A.· · ·Yes.


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     ·1· · · · Q.· · ·Did you speak with them?
     ·2· · · · A.· · ·Yes.
     ·3· · · · Q.· · ·What did you tell them?· And "defense
     ·4· ·counsel" meaning someone who represents Dr. Craig
     ·5· ·Wright.
     ·6· · · · A.· · ·Oh, I'm sorry.· You said "defense
     ·7· ·counsel."
     ·8· · · · Q.· · ·Yes.
     ·9· · · · A.· · ·No.· I spoke to the plaintiff counsel
     10· ·only.
     11· · · · Q.· · ·Right.· But did someone from
     12· ·Dr. Wright's side reach out to you?
     13· · · · A.· · ·No.· No.· No.· Absolutely not, no.· And
     14· ·if they did, I would not acknowledge -- I'm sorry.
     15· ·Wait a second.· Yes.· Strike what I have said
     16· ·before.
     17· · · · · · · ·Who's the lead attorney for the -- for
     18· ·the defense?
     19· · · · Q.· · ·Well, one attorney is Andres Rivero.
     20· ·There are other attorneys -- or, an attorney.· It
     21· ·doesn't matter if it's a particular --
     22· · · · A.· · ·There was an attorney that did contact
     23· ·me.· I do have the emails for this.
     24· · · · Q.· · ·Okay.
     25· · · · A.· · ·And I do have -- I want to say I have


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     ·1· ·the contact number.· I'd need to look in my phone.
     ·2· · · · Q.· · ·Sure.
     ·3· · · · A.· · ·But contacted me about this, and I was
     ·4· ·defensive about it.· I was hesitant about this,
     ·5· ·and I said I'd need to speak to my attorney.
     ·6· · · · · · · ·And I did not have an attorney at the
     ·7· ·time, but it was just a means of -- to avoid
     ·8· ·having to provide any type of statement to a legal
     ·9· ·counsel representing defense.
     10· · · · · · · ·There were a few more emails that were
     11· ·exchanged.· I believe there was one, maybe two,
     12· ·additional telephone conversations.· And after
     13· ·that, no.
     14· · · · Q.· · ·Okay.· So you never actually spoke with
     15· ·him or substantively about the case?
     16· · · · · · · MR. ROCHE:· Objection.
     17· ·BY THE WITNESS:
     18· · · · A.· · ·Not substantively, no.
     19· · · · · · · MR. KASS:· Okay.· So I think now is a
     20· · · · good time to take a five-minute break.
     21· · · · · · · MR. ROCHE:· Okay.
     22· · · · · · · THE VIDEOGRAPHER:· Off the record at
     23· · · · 11:01 a.m.
     24· · · · · · · · · · · ·(A recess was had from
     25· · · · · · · · · · · ·11:01 a.m. until 11:27 a.m.)


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     ·1· · · · · · · THE VIDEOGRAPHER:· Back on the record
     ·2· · · · at 11:27 a.m.
     ·3· ·BY MR. KASS:
     ·4· · · · Q.· · ·Okay.· I just want to clarify one
     ·5· ·question.
     ·6· · · · · · · ·I had a series of questions.· I had
     ·7· ·asked you whether you knew anything about the
     ·8· ·corporation W&K Information Defense, LLC?
     ·9· · · · A.· · ·Correct.
     10· · · · Q.· · ·And it was a series of questions, and
     11· ·my -- and I believe you said no to all of those
     12· ·questions.
     13· · · · A.· · ·Yes.
     14· · · · Q.· · ·If I were to ask you all those
     15· ·questions instead for a corporation called
     16· ·W&K Info Defense, LLC, would your answer be the
     17· ·same?
     18· · · · A.· · ·Yes.
     19· · · · Q.· · ·Now, one final question.· And that's
     20· ·true to all of those previous questions?
     21· · · · A.· · ·Correct.
     22· · · · Q.· · ·Okay.· At any point in time, has
     23· ·counsel for plaintiffs asked you to travel to
     24· ·Florida?
     25· · · · A.· · ·No.


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     ·1· · · · Q.· · ·Have they asked you to travel -- or,
     ·2· ·did they ask you about testimony -- trial
     ·3· ·testimony?
     ·4· · · · A.· · ·No.
     ·5· · · · · · · MR. KASS:· Okay.· I'm done -- I'm done.
     ·6· · · · · · · · · · What's going to happen is, now
     ·7· · · · Mr. Roach is going to ask you some questions,
     ·8· · · · and maybe I'll ask some additional questions
     ·9· · · · afterwards.
     10· · · · · · · THE WITNESS:· Okay.
     11· · · · · · · MR. ROCHE:· All right?
     12· · · · · · · THE WITNESS:· Sir.
     13· · · · · · · · · · · · EXAMINATION
     14· ·BY MR. ROCHE:
     15· · · · Q.· · ·Good morning.· It's still good morning,
     16· ·11:30.
     17· · · · · · · ·I just want to start and pick up -- we
     18· ·were discussing communications with plaintiffs'
     19· ·counsel and communications with defense counsel.
     20· · · · A.· · ·Yes.
     21· · · · Q.· · ·You had email correspondence with
     22· ·counsel for defendant?
     23· · · · A.· · ·Yes.
     24· · · · Q.· · ·Along with the -- the communication
     25· ·that you produced between -- between plaintiffs'


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     ·1· ·counsel and yourself, I ask that you produce
     ·2· ·the -- the communications with the defense counsel
     ·3· ·as well.
     ·4· · · · A.· · ·Correct.
     ·5· · · · Q.· · ·So that's you -- you agree to produce
     ·6· ·the -- the defense counsel communications?
     ·7· · · · A.· · ·Yes.· I was --
     ·8· · · · Q.· · ·Okay.
     ·9· · · · A.· · ·I was commanded and ordered per the
     10· ·subpoena.
     11· · · · Q.· · ·Okay.· I want to go back to how you met
     12· ·Craig.
     13· · · · · · · ·You testified earlier that you met
     14· ·Craig between 1999 and 2000?
     15· · · · A.· · ·Yes.
     16· · · · Q.· · ·And that was SCADA -- is that how you
     17· ·pronounce the acronym SCADA?
     18· · · · A.· · ·No.· Sca- -- the word "scada"
     19· ·pronounced like that is Greek for "shit."· You
     20· ·pronounce it as SCADA.
     21· · · · Q.· · ·SCADA.· All right.· We certainly --
     22· · · · A.· · ·It would be like --
     23· · · · Q.· · ·-- want none of the other.
     24· · · · A.· · ·-- s-c-a-y-d-a-h for phonetics.
     25· · · · Q.· · ·And you said that there was an


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     ·1· ·individual, Ian, that you also met at the same
     ·2· ·time?
     ·3· · · · A.· · ·Well, he was the -- I've not met him,
     ·4· ·per se.· He is the owner -- he was -- excuse me --
     ·5· ·the owner of the SCADA Gospel mailing list.· That
     ·6· ·responsibility, ownership and management was
     ·7· ·relegated to another individual.
     ·8· · · · Q.· · ·Okay.· Was it Ian Grigg?
     ·9· · · · A.· · ·Sounds about right.
     10· · · · Q.· · ·Okay.· Did you have any other
     11· ·communications with Ian Grigg?
     12· · · · A.· · ·No.· I should say to the best of my
     13· ·knowledge, no.
     14· · · · Q.· · ·Okay.
     15· · · · A.· · ·I don't believe I've had any direct
     16· ·communication with him outside of anything that
     17· ·may have been pertinent to the mailing list, but,
     18· ·no, I don't believe so.
     19· · · · Q.· · ·Okay.· Are you aware who Ian Grigg is?
     20· · · · A.· · ·Uh-huh.
     21· · · · Q.· · ·Okay.· Did Craig ever mention
     22· ·involve -- any involvement with Ian Grigg to you?
     23· · · · A.· · ·Can I get some clarification on that,
     24· ·please?
     25· · · · Q.· · ·Sure.· Did Craig ever discuss any


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     ·1· ·business venture with Ian Grigg?
     ·2· · · · A.· · ·No, not to the best of my knowledge.
     ·3· · · · Q.· · ·Okay.· And I believe you testified
     ·4· ·earlier today that Craig introduced you to
     ·5· ·Mr. Dave Kleiman in late 2008?
     ·6· · · · A.· · ·Sometime between late 2008, early to
     ·7· ·mid-2009, yes.
     ·8· · · · Q.· · ·Okay.
     ·9· · · · A.· · ·Just to further clarify, the meeting in
     10· ·terms -- and this was strictly via conference
     11· ·call.· There were a few emails, which both of you
     12· ·have received, where it was the -- the meeting was
     13· ·impromptu.· It was a last-minute call to meet up.
     14· · · · · · · ·And this was at the behest of
     15· ·Dr. Wright.
     16· · · · Q.· · ·Do you know why Craig introduced you to
     17· ·Dave Kleiman?
     18· · · · A.· · ·No idea.
     19· · · · Q.· · ·Did he make that introduction over
     20· ·email?
     21· · · · A.· · ·No, I don't believe so.
     22· · · · Q.· · ·Okay.
     23· · · · A.· · ·It -- it may be listed as one of the
     24· ·emails that I've sent to you folks, but I -- I do
     25· ·not remember.


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     ·1· · · · Q.· · ·Okay.· And these communica- -- the
     ·2· ·communication in 2009 between yourself, Craig, and
     ·3· ·Dave, did you tell anyone else about tho- --
     ·4· ·that -- that conference call?
     ·5· · · · · · · MR. KASS:· Objection.
     ·6· ·BY THE WITNESS:
     ·7· · · · A.· · ·I don't know.
     ·8· ·BY MR. ROCHE:
     ·9· · · · Q.· · ·Okay.
     10· · · · A.· · ·I -- I cannot recall.· I mean outside
     11· ·of my wife, but I cannot recall.· And I doubt if
     12· ·she'll remember much or anything about these
     13· ·conversations.
     14· · · · Q.· · ·Outside of the conference that occurred
     15· ·in 2009, did you have any other conference calls
     16· ·between yourself, Craig Wright, and Dave Kleiman?
     17· · · · · · · MR. KASS:· Objection.
     18· ·BY THE WITNESS:
     19· · · · A.· · ·No.· No.
     20· ·BY MR. ROCHE:
     21· · · · Q.· · ·Did you ever have any conference calls
     22· ·outside of the one in 2009 with just yourself and
     23· ·Dave Kleiman?
     24· · · · · · · MR. KASS:· Objection.
     25


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     ·1· ·BY THE WITNESS:
     ·2· · · · A.· · ·No.· Most of my communication was
     ·3· ·between myself and Craig Wright.· I would say
     ·4· ·almost all of my conversations were between myself
     ·5· ·and Craig Wright, and they were usually via Skype.
     ·6· ·BY MR. ROCHE:
     ·7· · · · Q.· · ·Have you ever attended a -- a security
     ·8· ·or an information -- IT-related conference?
     ·9· · · · A.· · ·You mean cybersecurity?
     10· · · · Q.· · ·Cybersecurity.
     11· · · · A.· · ·Yes.· I've attended several.
     12· · · · Q.· · ·Do you know whether or not Dave Kleiman
     13· ·was ever present at any of those cybersecurity
     14· ·conferences?
     15· · · · A.· · ·To the best of my knowledge, I do not
     16· ·know.
     17· · · · Q.· · ·Okay.
     18· · · · A.· · ·And if so, I was unaware that he
     19· ·attended them.
     20· · · · Q.· · ·Did you ever physically meet?
     21· · · · A.· · ·No.
     22· · · · Q.· · ·Dave Kleiman?
     23· · · · A.· · ·No.
     24· · · · Q.· · ·Have you ever physically met Craig
     25· ·Wright?


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     ·1· · · · A.· · ·Yes.
     ·2· · · · Q.· · ·When was that?
     ·3· · · · A.· · ·I want to say it was either sometime in
     ·4· ·2000 or 2001 prior to 9/11.
     ·5· · · · Q.· · ·Okay.
     ·6· · · · A.· · ·I met him and a woman.· I picked them
     ·7· ·up at the train station.· They came from some
     ·8· ·place south via Amtrak, and I picked both of them
     ·9· ·up, and we ended up having dinner at Harry's.
     10· · · · Q.· · ·And what is Harry's?
     11· · · · A.· · ·Harry's is a steakhouse.· It's named
     12· ·after -- oh, what's his name?· He was an announcer
     13· ·and commentator for the Cubs.
     14· · · · Q.· · ·Harry Carey?
     15· · · · A.· · ·Thank you.· Yes.
     16· · · · Q.· · ·Do you own any bitcoin?
     17· · · · A.· · ·No.· I own no bitcoin whatsoever.
     18· · · · Q.· · ·Have you ever owned bitcoin?
     19· · · · A.· · ·No.· I own no bitcoin whatsoever.
     20· · · · Q.· · ·Have you ever owned any cryptocurrency?
     21· · · · A.· · ·No.· I own no cryptocurrency
     22· ·whatsoever.
     23· · · · Q.· · ·Did the defendant ever advise you to
     24· ·buy bitcoin?
     25· · · · A.· · ·No.· I own no bitcoin or cryptocurrency


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     ·1· ·whatsoever.
     ·2· · · · Q.· · ·Are you familiar with an individual by
     ·3· ·the name of Deborah Kobza?
     ·4· · · · A.· · ·To the best of my knowledge, no.
     ·5· · · · Q.· · ·Are you familiar with an entity GICSR,
     ·6· ·Global Institute of Security -- hold on.· I can --
     ·7· · · · A.· · ·GICSR?
     ·8· · · · Q.· · ·GICSR?
     ·9· · · · A.· · ·Yes.
     10· · · · Q.· · ·What is -- how do you know of that
     11· ·entity?
     12· · · · A.· · ·Just through the emails that were sent
     13· ·to me from Craig Wright.
     14· · · · Q.· · ·Okay.· Did you ever participate in any
     15· ·business affairs with GICSR?
     16· · · · A.· · ·No.
     17· · · · Q.· · ·Do you know what GICSR does?
     18· · · · A.· · ·No.
     19· · · · Q.· · ·Did Craig ever tell you what he did at
     20· ·GICSR?
     21· · · · A.· · ·I believe he said he was an auditor for
     22· ·them, and that's to the best of my knowledge, but
     23· ·aside from that, no.
     24· · · · Q.· · ·What kind of auditor?
     25· · · · · · · MR. KASS:· Objection.


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       ·1· ·BY THE WITNESS:
       ·2· · · · A.· · ·He did not go into any specifics.
       ·3· ·BY MR. ROCHE:
       ·4· · · · Q.· · ·Okay.· When was the last time you
       ·5· ·communicated with Craig Wright?
       ·6· · · · A.· · ·It was late 2000 -- late 2009 and 2010,
       ·7· ·and this was when the controversy with bitcoin
       ·8· ·initiated.· My only way of contact to him either
       ·9· ·via email was via Skype.· His Skype account was
       10· ·disabled.
       11· · · · · · · ·There -- there was no discussion about
       12· ·that he was going to disable his account.· There
R-UQ
       13· ·was no other communication, verbal or vocal
       14· ·communication, between him and I following the
       15· ·disablement of his Skype account, nor were there
       16· ·any emails to indicate as such.
       17· · · · · · · ·He just disappeared.
       18· · · · · · · MR. ROCHE:· Okay.· No further
       19· · · · questions.
       20· · · · · · · · · · FURTHER EXAMINATION
       21· ·BY MR. KASS:
       22· · · · Q.· · ·I have one or two questions.
       23· · · · A.· · ·Sure.
       24· · · · Q.· · ·Do you -- have you ever used the email
       25· ·address r-s-r-a-v-a- -- let me start again --


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     ·1· ·rsradvan@infracritical.com?
     ·2· · · · A.· · ·Yes.
     ·3· · · · · · · MR. KASS:· I'm going to introduce
     ·4· · · · this -- I believe Exhibit 4.
     ·5· · · · · · · · · · · ·(Radvanovsky Deposition
     ·6· · · · · · · · · · · ·Exhibit 4 was marked for
     ·7· · · · · · · · · · · ·identification.)
     ·8· · · · · · · · · · · ·(Document tendered.)
     ·9· · · · · · · THE WITNESS:· Thank you.
     10· ·BY MR. KASS:
     11· · · · Q.· · ·Now, do you -- first, the email
     12· ·address, which is -- it's pretty hard to -- to
     13· ·actually make it out --
     14· · · · A.· · ·rsradvan@infracritical.com?
     15· · · · Q.· · ·Is there -- there's also one that looks
     16· ·like a Gmail.
     17· · · · · · · ·Do you have a Gmail one that's very
     18· ·similar?
     19· · · · A.· · ·Yes, I do.
     20· · · · Q.· · ·Okay.
     21· · · · A.· · ·As a matter of fact, all emails that
     22· ·went through rsradvan@infracritical.com was
     23· ·forwarded at the time to my rsradvan@gmail.com
     24· ·account.
     25· · · · · · · MR. ROCHE:· Zalman, I'm going to let


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     ·1· · · · you, you know, go down this until you
     ·2· · · · establish some type of relevancy to my cross,
     ·3· · · · but for now, I'm -- I'm going to object that
     ·4· · · · this is outside of the scope.
     ·5· · · · · · · MR. KASS:· Objection noted, and you
     ·6· · · · will see the relevance very shortly.
     ·7· · · · · · · MR. ROCHE:· Okay.
     ·8· ·BY MR. KASS:
     ·9· · · · Q.· · ·Is this a communication -- so I want --
     10· ·I'm going to break this email down to two parts.
     11· · · · · · · ·Halfway through the page, there's
     12· ·something that says "Original Message."· Do you
     13· ·see that, where it says "Original Message"?
     14· · · · A.· · ·Yes.
     15· · · · Q.· · ·Okay.· And then it says, "From Bob
     16· ·Radvanovsky"?
     17· · · · A.· · ·Radvanovsky.
     18· · · · Q.· · ·Radvanovsky.· Okay.· "To Bob
     19· ·Radvanovsky," and then it's talking to
     20· ·"Gentlemen."
     21· · · · · · · ·Who was this sent to?· It's a little --
     22· ·I'm a little confused.
     23· · · · A.· · ·This was being sent to the chapter
     24· ·authors that were participating -- let's see.
     25· ·When is this?· 2012?· This would be the first


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     ·1· ·edition of the handbook on SCADA/control systems
     ·2· ·security which came out in 2013.
     ·3· · · · Q.· · ·Okay.
     ·4· · · · A.· · ·He was one of several chapter authors.
     ·5· · · · · · · ·Don't ask me to recite their names
     ·6· ·because I --
     ·7· · · · Q.· · ·That's fine.· I will not be asking you
     ·8· ·that.
     ·9· · · · · · · ·All I do want to establish is that --
     10· ·so based on this email, is it accurate to say that
     11· ·you did send a communication to Dr. Wright in
     12· ·2012?
     13· · · · A.· · ·Yes.
     14· · · · Q.· · ·And I also want to go back to a
     15· ·document that was previously marked, if I could.
     16· ·Just -- let me just get the -- oh, actually I
     17· ·think it's right here.
     18· · · · · · · ·Okay.· I want to go back to
     19· ·Exhibit No. 3.· Remember we had discussed this
     20· ·email?
     21· · · · A.· · ·This one [indicating]?
     22· · · · Q.· · ·This one, No. 3.
     23· · · · A.· · ·Okay.
     24· · · · Q.· · ·And I don't want to go into the content
     25· ·of the email.· I just want to establish the date


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     ·1· ·of the email between you and Craig that's the
     ·2· ·second email on the page.
     ·3· · · · · · · ·What's the date over there?
     ·4· · · · A.· · ·September 28th, 2011.
     ·5· · · · · · · MR. KASS:· Okay.· Thank you.
     ·6· · · · · · · · · · Kyle, anything?
     ·7· · · · · · · MR. ROCHE:· No.
     ·8· · · · · · · THE WITNESS:· I hope that I'm not being
     ·9· · · · found contradicting myself in any manner
     10· · · · whatsoever because the thing is is that this
     11· · · · did not pertain to anything relating to
     12· · · · bitcoin or cryptography or cryptocurrency in
     13· · · · any manner whatsoever.
     14· · · · · · · · · · This pertained only to his
     15· · · · expertise in auditing skills and
     16· · · · capabilities, as well as his knowledge on
     17· · · · auditing.
     18· · · · · · · · · · At the time -- well, actually, it
     19· · · · was several years prior to, and don't ask me
     20· · · · which year it was, but he wrote a book on IT
     21· · · · auditing which I have a copy of.
     22· · · · · · · MR. KASS:· One more second.· Based on
     23· · · · that, I may have a follow-up.
     24· · · · · · · MR. ROCHE:· Well, you -- you ended your
     25· · · · questioning.


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     ·1· · · · ·MR. KASS:· Well, if -- well, are we
     ·2· ·cutting it off be- -- his answer?· If his
     ·3· ·answer is continuing after mine, then I'm --
     ·4· ·I get to ask another question on that.
     ·5· · · · ·MR. ROCHE:· He has to -- you --
     ·6· ·Zalman --
     ·7· · · · ·MR. KASS:· Kyle, tell --
     ·8· · · · ·MR. ROCHE:· -- you closed off your
     ·9· ·deposition.
     10· · · · ·MR. KASS:· Right.· So what are we going
     11· ·to do with his test- -- is it -- okay.
     12· · · · · · · ·Are you agreeing to strike his
     13· ·testimony after the deposition was closed?
     14· ·If the answer is yes, I have no further
     15· ·questions.· If the answer is no, then I'm
     16· ·going to ask an additional question.· Your
     17· ·choice.
     18· · · · ·MR. ROCHE:· I'm going to instruct the
     19· ·witness not to answer.· You closed the
     20· ·deposition.
     21· · · · ·MR. KASS:· You can instruct him not to
     22· ·answer.· You have no basis to do that, Kyle.
     23· · · · ·MR. ROCHE:· Yes, I do.
     24· · · · ·MR. KASS:· What's your basis?
     25· · · · ·MR. ROCHE:· You -- you closed the


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     ·1· · · · deposition.
     ·2· · · · · · · MR. KASS:· Yes, but the witness
     ·3· · · · continued talking, and he has an answer.
     ·4· · · · · · · · · · So my question for you is, is it
     ·5· · · · your position that -- if your position is the
     ·6· · · · deposition asked -- finished after he
     ·7· · · · answered my question, then that's fine, but
     ·8· · · · if you're planning on using his testimony
     ·9· · · · after the deposition is closed, it's only
     10· · · · fair that I get to ask a follow-up question.
     11· · · · · · · MR. ROCHE:· If we -- if we do use the
     12· · · · testimony, you can -- you can, I'm certain,
     13· · · · to make your arguments to the judge that it
     14· · · · should not be allowed.
     15· · · · · · · MR. KASS:· How about this?· Kyle, I'm
     16· · · · going to ask my question.
     17· · · · · · · · · · If you want to instruct the
     18· · · · witness not to answer, you can.· There is no
     19· · · · basis for that, and we're going to have it on
     20· · · · the record.
     21· · · · · · · MR. ROCHE:· Okay.
     22· ·BY MR. KASS:
     23· · · · Q.· · ·All right.· I'm going to introduce
     24· ·another document if I could find it.· Where did it
     25· ·go?· Give me one second.· I have to find the


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     ·1· ·document.
     ·2· · · · · · · ·All right.· I'm going to introduce as
     ·3· ·Exhibit No. 5, this document.
     ·4· · · · · · · MR. KASS:· Unfortunately, I only have
     ·5· · · · one copy, Kyle.· Sorry, but it's going to be
     ·6· · · · actually pretty quick.
     ·7· · · · · · · THE WITNESS:· Actually, before I answer
     ·8· · · · that, before she marks it down, I wish to
     ·9· · · · have the plaintiff be able to review said
     10· · · · document before --
     11· · · · · · · MR. KASS:· Of course.· That's -- that's
     12· · · · a very fair question.
     13· · · · · · · · · · Yes, you -- Kyle, you're more
     14· · · · than welcome to take a peek at it.
     15· · · · · · · MR. ROCHE:· You only have two copies?
     16· · · · · · · MR. KASS:· Yes.· So how about this?
     17· · · · · · · · · · Kyle, you can look at mine while
     18· · · · Mr. Radanovsky looks at the document.· And
     19· · · · that way, we can move this along a little.
     20· · · · · · · · · · · ·(Document tendered.)
     21· · · · · · · THE COURT REPORTER:· I did not mark it.
     22· · · · · · · MR. KASS:· Oh, okay.
     23· · · · · · · THE WITNESS:· Go ahead.· Please mark
     24· · · · it.
     25


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     ·1· · · · · · · · · · · ·(Radvanovsky Deposition                 Hearsay;
                                                                      relevance
     ·2· · · · · · · · · · · ·Exhibit 5 was marked for
     ·3· · · · · · · · · · · ·identification.)
     ·4· · · · · · · · · · · ·(Document tendered.)
     ·5· · · · · · · THE WITNESS:· Thank you.
     ·6· · · · · · · MR. ROCHE:· And, Zalman, just so you
     ·7· · · · know, I'm going to instruct the witness not
     ·8· · · · to answer.
     ·9· · · · · · · MR. KASS:· Well, I didn't --
     10· · · · · · · MR. ROCHE:· The deposition is closed.
     11· · · · · · · MR. KASS:· I didn't even ask my
     12· · · · question yet, Kyle.
     13· · · · · · · MR. ROCHE:· I know.· I'm just -- I'm
     14· · · · letting you know.
     15· · · · · · · MR. KASS:· Okay.
     16· · · · · · · MR. ROCHE:· And if you want to bring
     17· · · · this up to the judge, we can.
     18· · · · · · · MR. KASS:· We will probably have to,
     19· · · · but let me ask my question, and you can
     20· · · · instruct him as you see fit.
     21· ·BY MR. KASS:                                   Hearsay; relevance

     22· · · · Q.· · ·Okay.· Mr. Radanovsky, do you recognize
     23· ·this email?
     24· · · · A.· · ·Yes.
     25· · · · Q.· · ·Okay.· And if you look at about halfway


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     ·1· ·down, it says, Wen- -- there's a date, Wednesday,
     ·2· ·16th, 2011?
                                                       Hearsay; relevance
     ·3· · · · A.· · ·Yes.
     ·4· · · · Q.· · ·And --
     ·5· · · · · · · MR. ROCHE:· Objection.· Again, this is
     ·6· · · · outside the deposition.· Your deposition is
     ·7· · · · closed.· This is improper testimony.
     ·8· ·BY MR. KASS:
     ·9· · · · Q.· · ·Okay.· Now, if you look at -- who's
     10· ·this communication from?
     11· · · · · · · MR. ROCHE:· Objection.· I'm instructing
     12· · · · the witness not to answer.
     13· · · · · · · MR. KASS:· Kyle, you know there are
     14· · · · only three bases for instructing a -- well --
     15· · · · a witness not to answer.
     16· · · · · · · MR. ROCHE:· The deposition is over,
     17· · · · Zalman.· The deposition is over.
     18· · · · · · · · · · So I -- look, you can -- I mean,
     19· · · · you can ask these questions, but the -- you
     20· · · · know, for -- for our purpose, your deposition
     21· · · · is closed.
     22· · · · · · · · · · I'll allow you to ask the
     23· · · · questions, but, you know, to the extent you
     24· · · · try to use this testimony, we're going to
     25· · · · object on the basis that you did close the


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     ·1· · · · deposition --
     ·2· · · · · · · MR. KASS:· Okay.· Well --
     ·3· · · · · · · MR. ROCHE:· -- very clearly.
     ·4· · · · · · · MR. KASS:· -- let's see if we can do
     ·5· · · · this a little bit more reasoned.
     ·6· · · · · · · · · · Look, you stated your objection,
     ·7· · · · many, many times.· Now, honestly, I don't
     ·8· · · · think there's any basis for you to instruct
     ·9· · · · him not to answer, but you could just state
     10· · · · your objection.
     11· · · · · · · · · · And if the judge sees your view,
     12· · · · he'll just throw out this part of the
     13· · · · testimony.· I don't see what the harm is in
     14· · · · going forward and us getting it on the record
     15· · · · and let the judge make his ruling.
     16· · · · · · · MR. ROCHE:· I'm fine with that.
     17· · · · · · · MR. KASS:· All right.· Fair enough.
     18· ·BY MR. KASS:                                    Hearsay; relevance

     19· · · · Q.· · ·Okay.· Mr. Radanovsky, who is this
     20· ·email from?
     21· · · · A.· · ·Craig Wright.
     22· · · · Q.· · ·And what is it related to?
     23· · · · A.· · ·This pertains to the DHS funding grant
     24· ·for SCADA cybersecurity research.
     25· · · · Q.· · ·And what was the date of this email?


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                                                   Hearsay; relevance
     ·1· ·A.· · ·16 February 2011.
     ·2· · · · ·MR. KASS:· All right.· That's all I
     ·3· ·have.
     ·4· · · · · · · ·Kyle, do you have any followup on
     ·5· ·the on this?
     ·6· · · · ·MR. ROCHE:· No further questions.
     ·7· · · · ·MR. KASS:· Okay.· I think we're really
     ·8· ·done now.
     ·9· · · · ·THE VIDEOGRAPHER:· Off the record at
     10· ·11:48 a.m.
     11· · · · · · · · · (WHEREUPON, the videotaped
     12· · · · · · · · · deposition was concluded at
     13· · · · · · · · · 11:48 a.m.)
     14
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     ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
     ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA
     ·3
     ·4· ·IRA KLEIMAN, et al.,· · · · ·)
     ·5· · · · · · ·Plaintiffs,· · · · )
     ·6· · · · vs.· · · · · · · · · · ·) No. 18 CV 80176
     ·7· ·CRAIG WRIGHT,· · · · · · · · )
     ·8· · · · · · ·Defendant.· · · · ·)
     ·9
     10· · · · · · ·I hereby certify that I have read the
     11· ·foregoing transcript of my videotaped deposition
     12· ·given at the time and place aforesaid, and I do again
     13· ·subscribe and make oath that the same is a true,
     14· ·correct and complete transcript of my deposition so
     15· ·given as aforesaid, and includes changes, if any, so
     16· ·made by me.
     17
     18
     19
     20
     21· · · · · · · · · · · · · · · · ROBERT SCOTT RADVANOVSKY
     22· ·SUBSCRIBED AND SWORN TO before me
     23· ·this· · · day of· · · · · · · · · , A.D. 20_____.
     24
     25· ·NOTARY PUBLIC


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     ·1· · · · · · · · · · · · CERTIFICATE
     ·2· · · · · · · · · · · · · · ·OF
     ·3· · · · · · · · · · ·SHORTHAND REPORTER
     ·4
     ·5· · · · · · · ·I, DINA G. MANCILLAS, a Certified
     ·6· ·Shorthand Reporter of the State of Illinois,
     ·7· ·CSR License No. 084-003400, do hereby certify:
     ·8· · · · · · · ·That previous to the commencement of the
     ·9· ·examination of the aforesaid witness, the witness was
     10· ·duly sworn and/or duly affirmed by me to testify the
     11· ·whole truth concerning matters herein;
     12· · · · · · · ·That the foregoing deposition transcript
     13· ·was stenographically reported by me and was
     14· ·thereafter reduced to typewriting under my personal
     15· ·direction and constitutes a true and accurate record
     16· ·of the testimony given and the proceedings had at the
     17· ·aforesaid deposition;
     18· · · · · · · ·That the said deposition was taken before
     19· ·me at the time and place specified;
     20· · · · · · · ·That I am not a relative or employee or
     21· ·attorney or counsel for any of the parties herein,
     22· ·nor a relative or employee of such attorney or
     23· ·counsel for any of the parties hereto, nor am I
     24· ·interested directly or indirectly in the outcome of
     25· ·this action.


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     ·1· · · · · · · ·IN WITNESS WHEREOF, I do hereunto set my
     ·2· ·hand at Chicago, Illinois, this 14th of December,
     ·3· ·2019.
     ·4
     ·5
     ·6
     ·7
     ·8· · · · · · ·_____________________________________
     ·9· · · · · · ·DINA G. MANCILLAS, CSR, RPR, CRR, CLR
     10· · · · · · ·CSR LICENSE NO. 084-003400
     11
     12
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                                                                accesses 33:3
     Exhibits                  2                       5        accident
                                                                 18:23
 EX 0001 Robert       2  23:6,13           5    71:3 72:2       accord 13:1
  Radvanovsky 1        42:5                                     accordingly
 21219 4:10           20 7:13                                    45:15
                                                       7
  13:19 14:9           13:14,16 17:8                            account 64:9,
 EX 0002 Robert        38:5                77    5:6             12,15 65:24
  Radvanovsky 1       200 5:11                                  accurate
 21219 4:13           2000 37:11                                 14:24 15:2,12
  23:6,13              57:14 62:4                      9         21:5 23:23,25
 EX 0003 Robert        64:6                                      24:4 67:10
  Radvanovsky 1                            9/11 62:4
                      2001 62:4                                 acknowledge
 21219 4:16                                9:18-CV-80176-        53:14
                      2003 15:8            BB-BR 5:4
  38:24 39:2          2008 40:18                                acknowledgemen
  67:19                                    9:58 5:8             t 41:7
                       44:13 46:3
 EX 0004 Robert        48:7 59:5,6                              acquire
  Radvanovsky 1       2009 26:1,2,3                    A         16:12,22
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